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                                                            DOCUMENT
UNITED STATES DISTRICT COURT                                ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                               DOC #: __________________
--------------------------------------------------------X   DATE FILED: __1/11/21_______
UNITED STATES OF AMERICA


                                                                 03-CR-979 (KMW)
                 v.
                                                                 04-CR-408 (KMW)
                                                                       ORDER
FRANK SMITH CASTILLO

                                   Defendant.
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KIMBA M. WOOD, United States District Judge:

        On January 6, 2021, Defendant Frank Smith Castillo filed a reply in support of his

motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A).      (ECF No. 41,

04-CR-408.)      Should the Government wish to respond to Defendant’s submission, it shall do so

on or before January 15, 2021.



SO ORDERED.

Dated: New York, New York
       January 11, 2021
                                                                /s/ Kimba M. Wood
                                                                 KIMBA M. WOOD
                                                              United States District Judge
